Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 1 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 2 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 3 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 4 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 5 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 6 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 7 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 8 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 9 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 10 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 11 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 12 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 13 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 14 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 15 of 58
 Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 16 of 58




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                              16
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 17 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 18 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 19 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 20 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 21 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 22 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 23 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 24 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 25 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 26 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 27 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 28 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 29 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 30 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 31 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 32 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 33 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 34 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 35 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 36 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 37 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 38 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 39 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 40 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 41 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 42 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 43 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 44 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 45 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 46 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 47 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 48 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 49 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 50 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 51 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 52 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 53 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 54 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 55 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 56 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 57 of 58
Case 1:12-cr-00262-JEB Document 2 Filed 12/10/12 Page 58 of 58
